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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF GEORGIA
                            AUGUSTA DIVISION

UNITED STATES OF AMERICA                )       CASE NO: 1:21-CR-48
                                        )
v.                                      )
                                        )
SAMMIE LEE SIAS                         )

                   GOVERNMENT’S EXPERT DISCLOSURE
                     PURSUANT TO FED. R. CRIM. P. 16

      Now comes the United States of America, by and through David H. Estes,

United States Attorney for the Southern District of Georgia, and the undersigned

Assistant United States Attorney, and, pursuant to Federal Rule of Criminal

Procedure 16(a)(1)(G), hereby makes the following expert witness disclosures:

      Absent a stipulation, the Government will call Senior Forensic Examiner

Charles A. McStotts (“SFE McStotts”) as an expert witness at the trial of this

case. SFE McStotts as an Information Technology Specialist Senior Forensic

Examiner (ITS-SFE) with the Federal Bureau of Investigation, he is responsible for

conducting forensic examinations on computers, mobile phones, cameras and GPS

evidence, including evidence utilizing Microsoft Windows OS, Linux/Unix OS, Apple

iOS and Google Android OS. SA McStotts is also responsible for performing search

and seizure operations relating to digital data.

      SFE McStotts will testify at the trial about the steps that he took to image the

electronic devices seized during the investigation and the evidence of deletion of files

he found during the forensic examination of those devices. Specifically, the

government anticipates that he will testify to the following steps in the forensic

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imaging process, both generally and as applied in this case: (1) physical examination

of the original computer media, including the receipt, inspection and preparation of

each item for forensic imaging; (2) write protecting the media, e.g., the process by

which the original computer media is protected from being modified, overwritten or

otherwise altered during the forensic imaging process; (3) wiping the staging media,

which ensures that the media destined to receive and store the forensic image is

completely empty and does not contain any data on it; (4) collecting hardware

geometry and system information, e.g., obtaining information about the original

media; (5) creating a forensic image; (6) verification, e.g., confirmation that the

forensic image is an exact copy of the original media through a process known as

“hashing”; and (7) conducting forensic analysis of the acquired forensic image. SFE

McStotts will explain that a hash value is a mathematical algorithm used to

fingerprint the original media, and that where the forensic image contains the same

hash value as the original, it is an exact copy. He will testify that for all of the original

media that he imaged, the hash values matched. SFE McStotts will also explain that




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he used digital forensic software to complete the forensic imaging process that is

approved and validated by the FBI.

      Respectfully submitted this 21st day of March 2022.

                                       DAVID H. ESTES
                                       UNITED STATES ATTORNEY

                                       /s/ Tara M. Lyons

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                       SOUTHERN DISTRICT OF GEORGIA
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UNITED STATES OF AMERICA                )       CASE NO: 1:21-CR-48
                                        )
v.                                      )
                                        )
SAMMIE LEE SIAS                         )

                            CERTIFICATE OF SERVICE

       This is to certify that I have on this day served all the parties in this case in

accordance with the notice of electronic filing (“NEF”) which was generated as a result

of electronic filing in this Court.

       This 21st day of March 2022.

                                        DAVID H. ESTES
                                        UNITED STATES ATTORNEY

                                        /s/ Tara M. Lyons

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